Case 1:97-cV-01261-.]DB-STA Document 215 Filed 06/07/05 Page 1 of 3 Page|D 142

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IN THE UNITED sTATEs DlsTRICT COURT 0 ~OA>//
FoR THE WESTERN DIsTRlcT 0F TENNESSEE 616 ' \_\9
EASTERN DIVISION 4’\) \ §
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JAMIE HAMILTON, et ux., ) .1';#:2§/5?,<;;?;’,9 63-
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Plainnffs, ) /Iib}' O@OJ/;
) @¢':c§\€;
v. ) No. 97-1261 B/An -* `."”V
)
GARY MYERS, et al., )
)
Defendants. )
and
GARY ARNETT, et al., )
)
Plaintiffs, )
)
v. ) No. 98-1263 B/An
)
GARY MYERS, et al., )
)
Defendants. )

 

ORDER SETTING STATUS CONFERENCE

 

IT IS ORDERED that a telephone status conference in this matter should be held before
United States Magistrate Judge S. Thornas Anderson on TUESDAY, JUNE 21, 2005 at 10:30
A.M. Counsel for the Defendants shall initiate the conference call and shall insure that all
counsel of record in both cases 97-1261 and 98-1263 are on the telephone prior to dialing Judge
Anderson’s chambers in Jacl<son, Tennessee.

The purpose of this telephone conference Will be to discuss the status of settlement

discussions, whether a ruling on any pending motions would likely aid or hinder the prospects for

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with Ru|e 58 and,'orr79 (a) FRCP on

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settlement, and to establish pre-settlement conference proceduresh

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT IS SO ORDERED.

Date: RML 0

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 215 in
case l:97-CV-0126l Was distributed by faX, mail, or direct printing on
J unc 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

